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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          Case No.: 20-CR-2962-GPC
12                                     Plaintiff,
                                                        JUDGMENT AND ORDER
13   v.                                                 DISMISSING INFORMATION
                                                        WITHOUT PREJUDICE
14   EDGAR JESUS ANAYA,
15                                   Defendant.
16
17         Based on the motion of the United States to dismiss this case without prejudice,
18   and in light of the interests of justice, IT IS HEREBY ORDERED that the information
19   in the above-entitled action be DISMISSED without prejudice.
20         IT IS SO ORDERED.
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22   Dated: January 11, 2021
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28                                                                                 20-CR-2962-GPC
